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                      IN THE U.S. DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA

TIARA SMART, Administratrix of the Estate       No. 2:15-cv-00953
of FRANK J. SMART, JR., Deceased,

                             Plaintiff

v.

CORIZON, INC.; CORIZON HEALTH, INC.;
ALLEGHENY COUNTY d/b/a
ALLEGHENY COUNTY JAIL; and
ORLANDO HARPER,
                         Defendants.

     APPENDIX TO DEFENDANTS’ CONCISE STATEMENT OF FACTS


Exhibit A.       Frank Smart Intake Information

Exhibit B.       Frank Smart Medical Intake

Exhibit C.       Excerpts from Rae Ann Green Deposition

Exhibit D.       Allegheny County Police Initial Report

Exhibit E.       Alisia Hollingsworth Statement

Exhibit F.       Excerpts from Logan Berger Deposition

Exhibit G.       Medical Examiner’s Report

Exhibit H.       Excerpts from Stephanie Frank Deposition

Exhibit I.       Positional Asphyxia Training

Exhibit J.       Excerpts Susan Leri Deposition

Exhibit K.       Corizon Amended Complaint

Exhibit L.       Dismissal of Corizon

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